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Pyatt Silvestri
791 E. 8ridger Avenue
Suite 600
Las Vegas, Nevada 39101
(702) 383-6000

 

Case 2:19-cv-00904-APG-NJK Document 1 Filed 05/28/19 Page 1 of 15

JAMES P. C. SILVESTRI, ESQ.

Nevada Bar No. 3603

BRIAN W. GOLDMAN, ESQ.
Nevada Bar No. 6317

PYATT SILVESTRI

701 Bridger Ave., Suite 600
Las Vegas, NV 89101

Tel: (702) 383-6000

Fax: (702) 477-0088
jsilvestri@ pyattsilvestri.com

 

bsoldman @pyattsilvestr.com

Attorney for Defendant,
WILLIAM HEIDER

UNITED STATES DISTRICT COURT

EDWARD SAMADANT, formerly known as

VARGHA SAMADANI,
Plaintiff,

VS,

WILLIAM HEIDER, an individual;
ENTERPRISE LEASING COMPANY-
WEST, LLC d/b/a ALAMO; DOES I through
X, inclusive; ROE CORPORATIONS I

through X, inclusive,

Defendants.

 

 

 

COMES NOW, Defendant, William Heider, and hereby files this Notice of Removal of
the above-described action to the United States District Court for the District of Nevada, from
the District Court of Clark County, where the action is now pending as provided by Title 28,
U.S. Code, Chapter 1441 and states:

l. The above-entitled action was commenced in the District Court of Clark County,

State of Nevada and is now pending in that court. Process was served on Defendant, William

Heider, on May 4, 2019.

DISTRICT OF NEVADA

CASE NO.: 2:19:cv-

NOTICE OF REMOVAL

 
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701 E. Bridger Avenue

Suite 600

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(702) 383-6000

 

Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 2 of 15

2. The action is a civil action for claims for damages resulting from a motor vehicle
accident, which occurred on or about January 18, 2017.

3. Piaintiff’s Complaint alleges Causes of Action for Negligence, Negligence Per Se
and Negligent Entrustment. Plaintiff is seeking general, special and punitive damages in an
amount in excess of $15,000.00. Removal was sought because of the diversity of the parties and
the amount being demanded is over $75,000.

4, The United States District Court for the District of Nevada has jurisdiction by
reason of diversity of citizenship of the parties. Plaintiff, Edward Samadani, has represented he
is a resident of Nevada. Defendant William Heider is a resident of Illinois. Defendant
Enterprise Leasing Company-West, LLC dba Alamo, is now and at the time the state action was
commenced incorporated in the State of Delaware. No change of citizenship of parties has
occurred since the commencement of the action.

5. A copy of all process, pleadings, and orders served upon Defendant is filed with
this notice as Exhibit “A” pursuant to 28 U.S.C. § 1446(a).

6. Defendant will give written notice of the filing of this notice as required by 28
U.S.C. § 1446(d).

7. A copy of this notice will be filed with the Clerk of the District Court for Clark
County as required by 28 U.S.C. § 1446(d).

 
Pyatt Silvestri

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Suite 600

Las Vegas, Nevada 89104

(702) 383-6000

 

Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 3 of 15

WHEREFORE, Defendant William Heider hereby requests that this action proceed in
this Court as an action properly removed to it.

DATED this 28th day of May, 2019.

PYATT SILVESTRI

/s/Brian. W. Goldman, Esq.
JAMES P. C. SILVESTRI, ESQ,
Nevada Bar No. 3603

Brian W. Goldman, Esq.

Nevada Bar No. 6317

701 Bridger Ave., Suite 600

Las Vegas, NV 89101

Attorney for Defendant,
WILLIAM HEIDER

 
Pyatt Silvestri

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704 E. Bridger Avenue

Suite 600

Las Vegas, Nevada 89101

(762) 383-6000

 

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the foregoing NOTICE OF REMOVAL was
deposited in the United States Mail at Las Vegas, Nevada, postage fully prepaid, this 28" day of
May, 2019.

Dan J. Lovell, Esq.

EMPIRE LAW GROUP

1212 South Casino Center Blvd.
Las Vegas, NV 89104

dan @empirelawgroup.com
Attorneys for Plaintiff,
EDWARD SAMADANI

Jka VARGHA SAMADANI

/s/ Sugary Clokey
An Employee of PYATT SILVESTRI

 
Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 5 of 15

EXHIBIT “A”
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Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 6 of 15

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DAN J. LOVELL, ESQ. .
Nevada Bar No. 9618
Empire Law Group
1212 8. Casino Center Blvd.
Las Vegas, Nevada 89104
T: 702-512-7777 / F: 702-512-8888
E: dan@lvlitigation.com

Attorneys for Plaintiff

DISTRICT COURT
CLARK COUNTY, NEVADA

 

EDWARD SAMADANI, formerly known as | CASE NO.: A-19-787730-C
VARGHA SAMADANTL, an individual, DEPT.NO.: IV

Plaintiff,

vs.
AFFIDAVIT OF SERVICE

WILLIAM HEIDER, an_ individual: OF WILLIAM HEIDER

ENTERPRISE LEASING COMPANY-
WEST, LLC d/b/a ALAMO; DOES I through
X; and ROE CORPORATIONS, I through X,
inclusive,

Defendant(s).

 

 

 

Service of Defendant, WILLIAM HEIDER was perfected on May 4, 2019, by Process
Server, Jerome Paul, Illinois license number 129-374621, by personally placing a copy of the
Summons and Complaint, in the instant matter,directly into Defendant, William Heider’s hands,
at defendant’s dwelling house or usual place of abode, 3729 Arthur Avenue, Brookfield, Hlinois.

NRCP. 4(c).

EMPIRE LAW GROUP

/s/ Dan J. Lovell

Dan J. Lovell, Esq.

1212 S. Casino Center Blvd.
Las Vegas, Nevada 89104
T: 702-512-7777

Attorney for Plaintiff

 

Case Number: A-19-787730-C
Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 7 of 15

ee AFFIDAVIT OF SPECIAL PROCESS SERVER 19-050514

COUNTY OF CLARK
STATE OF NEVADA

EDWARD SAMADANT ET AL

Vs CASE NO.A+-19-787730-C

WILLIAM HEITDER ET Ai

JEROME PAUL Being first duly sworn on oath deposes and says that
he is not a party to this action and is authorized to serve Process in the state
of ILLINOIS .

That he served the within SUMMONS -CIVIL
COMPLAINT

By leaving a copy with the within named Defendant
WILLIAM HETDER
personally on 05/04/2019.

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The Sex, Race and Approximate Age of the person with whom he left the documents
were as follows:

Sex: MALE 5708"
Race: WHITE 200
Age: 45

The place and time of day where the documents were served was as follows:

              
 
 

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BROOKFIELD, IL
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Notary Public Procpet gervey 129-374601

   

 

 
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Steven D. Grierson

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Dan J. Lovell, Esq.

Nevada Bar No. 9618

EMPIRE LAW GROUP

1212 8. Casino Center Blvd.

Las Vegas, Nevada 89104

T: 762-512-7777 / F: 702-512-8888

E: dan@empirelawgroup.com

Attorney for Plaintiff Edward Saumadani

 

DISTRICT COURT
CLARK COUNTY, NEVADA
EDWARD SAMADANI, formerly known as) CASENO.: A-19-787730-C
VARGHA SAMADANI, an individual, DEPT.NO.:
Department 4
Plaintiff,

ARBITRATION EXEMPT
VS.

PURSUANT TO NAR 3(A)
WILLIAM HEIDER, an __ individual; (AMOUNT IN CONTROVERSY
ENTERPRISE LEASING COMPANY- EXCEEDS $50,000)

WEST, LLC d/b/a ALAMO; DOES I through
x; aud ROE CORPORATIONS, IJ through X,
inclusive,

Defendants.

 

 

 

 

COMPLAINT

COMES NOW Plaintiff, EDWARD SAMADANT, tfn/a VARGHA SAMADANT, by and
through his attorney, Dan J. Lovell, Esq., of the law firm Empire Law Group, and for his causes
of action alleges as follows:

PARTIES, JURISDICTION, AND VENUE

1. That all times mentioned herein, Plaintiff EDWARD SAMADANI, formerly
known as VARGHA SAMADANI, (“Plaintiff’) was a resident of Clark County, Nevada.

2. That at all times mentioned herein, upon information and belief, Defendant

WILLIAM HEIDER (“Heider”) was a resident of the State of Illinois.

Case Number: A-19-787730-C

 

 

 
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Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 9 of 15

3. That at all times mentioned herein, upon information and belief, Defendant
ENTERPRISE LEASING COMPANY-WEST, LLC d/b/a ALAMO (“Enterprise”) is and was a
Delaware corporation duly licensed to do business under the laws of the State of Nevada, and in
fact doing business in Clark County, Nevada, and the owner of the vehicle driven by Defendant
Heider involved in the subject accident described herein.

4, That the true names or capacities, whether individual, corporate, associate, or
otherwise, of Defendants, DOES I through X, inclusive, are presently unknown to Plaintiff who,
therefore, sues said Defendants by such fictitious names; Plaintiff is informed and believes and
thereon alleges that each Defendant designated herein as DOE is responsible in some manner for
the events and happenings which proximately caused damages to Plaintiff as herein alleged.
Plaintiff will ask leave of this Court to amend the instant complaint to insert the true names and
capacities of DOES I through X, inclusive, when the same has been ascertained and to join such
Defendants in this action.

5. The true names or capacities, whether individual, corporate, associate or
atherwise, of Defendants, ROE CORPORATIONS I through X, inclusive, are presently unknown
to Plaintiff who, therefore, sues said Defendants by such fictitious names; Plaintiff is informed
and believes and thereon alleges that each Defendant designated herein as ROE Corporations is
responsible in some manner for the events and happenings which proximately caused damages to
Plaintiff as herein alleged. Plaintiff will ask leave of this Court to amend the instant complaint to
insert the true names and capacities of ROE CORPORATIONS I through X, inclusive, when the
same has been ascertained and to join such Defendants in this action.

6. That all the facts and circumstances that give rise to the subject lawsuit occurred

on Cameron Street near the Orleans Casino in Clark County, Nevada.

 

 
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Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 10 of 15

7. This court has jurisdiction in this action and the venue is properly set in the Eighth
Judicial District Court for the State of Nevada.

GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

8. Atall times relevant herein, Plaintiff was the owner and operator of a 2010 Porsche
Panamera, which was involved in the accident described herein.

9. At all times relevant herein, Defendant Heider was the operator of a 2015 Ford
Focus, which was involved in the accident described herein.

10. Upon information and belief, on January 18, 2017, Defendant Heider was under
the influence of alcohol and/or other substances that negatively impaired his ability to drive ma
safe, responsible, and lawful manner, thereby contributing and/or causing the accident with
Plaintiff.

11. At all times relevant herein, Defendant Enterprise was the lawful owner of the
2015 Ford Focus operated by Defendant Heider and involved in the accident described herein.

12, On January 18, 2017, Plaintiff was a properly restrained driver traveling
northbound on Cameron Street in Las Vegas, Nevada, Defendant Heider drove his vehicle from
a private drive (the Orleans Casino) onto Cameron Street. Defendant Heider, while impaired,
negligently failed to yield the right of way and failed to use due care, thereby causing the left
front of Defendants’ vehicle to collide with the right front of Plaintiff's vehicle.

13. Defendant Enterprise negligently entrusted the subject vehicle to Defendant
Heider without properly investigating as to whether he was a safe, responsible, and/or Jawful
driver,

14. Defendant Enterprise knew and/or should have known that Defendant Heider was

an unsafe driver.

 

 
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Case 2:19-cv-00904-APG-NJK Document1 Filed 05/28/19 Page 11 of 15

15. Plaintiff was seriously injured, caused to suffer great pain of body and mind, and
suffered damages in excess of $15,000.00 as a direct and proximate result of Defendants’
negligence.

16. As a direct and proximate result of Defendants’ negligence, Plaintiff has been
required to and has limited his occupational and recreational activities, which caused a loss of
earning capacity, lost wages, physical impairment, mental anguish, and loss of enjoyment of life
in a presently unascertainable amount.

17. Defendant Heider had knowledge of the probable harmful consequences of driving
a motor vehicle while impaired, yet willfully and deliberately failed to act to avoid those
consequences. As such, Defendant Heider is guilty of implied malice and oppression for his
conduct which he engaged in with a conscious disregard for the rights or safety of others,
including Plaintiff. Plaintiff is therefore entitled to an award of exemplary and punitive damages
against Defendants in an amount in excess of $15,000.00.

18. Asa direct and proximate result of Defendants’ negligence, Plaintiffs property
was damaged in an amount in excess of $15,000.00.

19. Plaintiff has been forced to retain an attorney to prosecute this matter and is

entitled to reasonable costs and attorney's fees as provided by Nevada law.

FIRST CAUSE OF ACTION

(Negligence)
(Defendant Heider)

20. Plaintiff repeats, realleges, and incorporates herein the allegations in the preceding
Paragraphs of this Complaint as though fully set forth herein.
21. Defendant Heider owed a duty of care to Plaintiff to drive in a safe, responsible,

and lawful manner.

 

 

 
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92, On January 18, 2017, Heider breached that duty when he failed to yield the right
of way, thereby causing the left front of Defendants’ vehicle to collide with the right front of
Plaintiff's vehicle in an unsafe, irresponsible, and unlawful manner.

23. On January 18, 2017, upon information and belief, Heider also breached his duty
of care to Plaintiff when he operated his motor vehicle while under the influence of alcohol and/or
another substance, thereby negatively impairing his ability to drive in a sale, responsible, and
lawful manner.

24, Defendant Heider’s breach of duty of care was the legal and proximate cause of
the Plaintiff's injuries and losses.

25. Plaintiff has suffered damages in excess of $15,000.00 as a direct and proximate
result of Defendants’ negligent actions and behavior.

26. Plaintiff is entitled to an award of exemplary and punitive damages against
Defendants in an amount in excess of $15,000.00.

47 Plaintiff has been forced to retain an attorney to prosecute this matter and is
entitled to reasonable costs and attorney's fees as provided by Nevada law.

SECOND CAUSE OF ACTION

(Negligence Per Se)
(Defendant Heider)

28. Plaintiff repeats, realleges, and incorporates herein the allegations in the preceding
Paragraphs of this Complaint as though fully set forth herein.

29, Pursuant to NRS 484B.260 and 484B.263, the driver of a vehicle about to enter,
exit, or cross a highway from a private way shall yield the right of way to all vehicles approaching
on such highway whose proximity constitutes an immediate hazard and shal! continue to yield

the right of way to that traffic until the driver may proceed with reasonable safety.

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30, Pursuant to NRS 484B.603, Defendant owed a duty to Plaintiff to decrease speed
to avoid colliding with any person, vehicle, or other conveyance.

31. Pursuant to multiple statutes contained in Chapter 484C, including NRS 484C.110,
Defendant owed a duty to Plaintiff to avoid driving or being in actual physicai control of a motor
vehicle while under the influence of alcohol and/or drugs.

32. Plaintiff is within the class of persons intended to be protected by the statutes,
laws, and/or ordinances violated by Defendant and the injuries suffered by Plaintiff were the type
against which such statutes, laws, and/or ordinances of the State of Nevada, County of Clark,
and/or City of Las Vegas were intended to protect, thereby rendering Defendant hable for the
subject collision and Plaintiff's resulting damages based on negligence per se.

33. On January 18, 2017, Defendant breached the duties under the above-mentioned
statutes when he failed to yield to Plaintiff's vehicle and failed to avoid the collision with
Plaintiff's vehicle. |

34,  Defendant’s breach of Nevada statutes was the legal and proximate cause of
Plaintiff's injuries and losses,

35. Plaintiff has suffered damages in excess of $15,000.00 as a direct and proximate
result of Defendant’s negligent actions and behavior.

36. Plaintiff has been forced to retain an attorney to prosecute this matter and is
entitled to reasonable costs and attorney's fees as provided by Nevada law.
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THIRD CAUSE OF ACTION

(Negligence Entrustment)
(Defendant Enterprise)

37.  Plaintiffrepeats, realleges, and incorporates herein the allegations in the preceding
Paragraphs of this Complaint as though fully set forth herein.

38. Defendant Enterprise willingly entrusted its vehicle to Defendant Heider.

39. Defendant Enterprise knew or should have known that such entrustment to
Defendant Heider was negligent.

40. Defendant Heider subsequently failed to drive safely and/or failed to comply with
Nevada traffic laws.

41. Defendant Enterprise owed Plaintiffa duty of ordinary care to entrust the use and
possession of its motor vehicle to a careful and responsible driver.

42, Defendant Enterprise subsequently breached its duty of ordinary care by
negligently entrusting the use and possession of its automobile to Defendant Heider.

43. Plaintiff has suffered damages in excess of $15,000.00 as a direct and proximate
result of Defendant’s negligent actions and behavior.

44. _—‘ Plaintiff has been forced ‘o refain an attorney to prosecute this matter and is
entitled to reasonable costs and attorney's fees as provided by Nevada law.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff VARGHA SAMADANI prays for relief and judgment against
all Defendants as follows:

1, For general damages in an amount in excess of $15,000.00;

2 For special damages for medical and incidental expenses incurred and to be

incurred in excess of $15,0000.00;

 

 
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8.

For special damages for lost earnings and earning capacity;
For punitive damages in an amount in excess of $15,000.00;
For reasonable attorney's fees as provided by Nevada law;
For costs of suit herein,

For interest at the statutory rate; and,

For any such other relief this court deems appropriate,

Dated this (6 day of January, 2019.

EMPIRE LAW GROUP

Chic tw

Dan J. Lovell, Esq.

Nevada Bar No. 9618

1212 8. Casino Center Blvd.

Las Vegas, Nevada 89104

T: 702-512-9777

Attorney for Plaintiff Rdward Samadani

 

 

 

 
